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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

JOHN DOE,                                                         )
                                                                  )      CIVIL ACTION
              Plaintiff,                                          )
v.                                                                )
                                                                  )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                              )
BOARD OF TRUSTEES, MITCHELL ELIAS                                 )
DANIELS, JR., in his official capacity as President of            )
Purdue University, ALYSA CHRISTMAS ROLLOCK,                       )      No. 2:17-cv-33-JPK
in her official capacity at Purdue University, KATHERINE          )
SERMERSHEIM, in her official capacity at Purdue University,       )
                                                                  )
              Defendants.                                         )
                                                                  )

      PLAINTIFF JOHN DOE’S COMPLIANCE STATEMENT WITH THE COURT’S
        AUGUST 14, 2020 3:43 EST ORDER TO FILE FULLY REDACTED PAPERS
     _IN COMPLAINCE WITH THE COURT’S MAY 31, 2017 PSEUDONYM ORDER_

       Plaintiff John Doe respectfully submits this Compliance Statement with the Court’s August

14, 2020 Order (ECF No. 102) for Plaintiff John Doe’s papers filed July 31, 2020 (ECF No. 98).

Along with this Compliance Statement are Motion Exhibits 1 through 4 that have been redacted

so that there will be compliance with the Court’s August 14, 2020 Order (ECF No. 102). Plaintiff

John Doe and his counsel apologizes.

Dated: August 21, 2020                      Respectfully submitted,
                                            NESENOFF & MILTENBERG, LLP
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